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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION

                                                      CASE No.:
MICHAEL R. MCNEIL,

       Plaintiff,
vs.

J. VALENTE HOLDINGS, LLC,
and JOSEPH VALENTE d/b/a
BOSTON GOURMET COFFEEHOUSE,

      Defendants.
___________________________________________/

                                          COMPLAINT


       Plaintiff, MICHAEL R. MCNEIL (hereinafter the “Plaintiff”), through undersigned

counsel, hereby files this Complaint and sues J. VALENTE HOLDINGS, LLC, a Florida

Limited Liability Company, and JOSEPH VALENTE, an individual, d/b/a BOSTON

GOURMET COFFEEHOUSE, (hereinafter, collectively the “Defendants”), for injunctive relief,

attorney’s fees and costs (including, but not limited to, court costs and expert fees), pursuant to

42 U.S.C. §12181, et. seq., (“AMERICANS WITH DISABILITIES ACT” or “ADA”) and

alleges:

                                JURISDICTION AND PARTIES

       1.      This is an action for declaratory and injunctive relief pursuant to Title III of the

Americans with Disabilities Act, 42 U.S.C. §12181, et. seq., (hereinafter referred to as the

“ADA”). This Court is vested with jurisdiction under 28 U.S.C. §1331 and §343.

       2.      Venue is proper in this Court, Middle District pursuant to 28 U.S.C. §1391(B) in

that all events giving rise to this lawsuit occurred in Volusia County, Florida.

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        3.      At the time of Plaintiff’s visit to Defendants’ Subject Facilities, prior to instituting

the instant action, MICHAEL R. MCNEIL (hereinafter referred to as “MCNEIL”), was a

resident of the State of Florida, suffered from what constitutes a “qualified disability” under the

Americans with Disabilities Act of 1990, and used a wheelchair for mobility. Plaintiff has

traumatic brain injury (TBI). He is required to traverse in a wheelchair, and is substantially

limited to performing one or more major life activities including, but not limited to, walking,

standing, grabbing, grasping, and/or pinching.

        4.      The Plaintiff personally visited, in or about October 29, 2019 Defendants’ Subject

Facilities, but was denied full and equal access to, and full and equal enjoyment of, the facilities

services, goods, privileges and accommodations offered within Defendants’ Subject Facilities,

which is the subject of this lawsuit, even though he would be classified as a “bona fide patron”,

because of his disabilities. Plaintiff lives in Volusia County, Florida, in close proximity to

Defendants, (within 21.6 miles) and travels in the surrounding areas near Defendants’ Subject

Facilities on a regular basis.

        5.      The Defendants, J. VALENTE HOLDINGS, LLC, a Florida Limited Liability

Company,      and   JOSEPH       VALENTE,        an    individual,   d/b/a   BOSTON       GOURMET

COFFEEHOUSE, are authorized to conduct, and are conducting business within the State of

Florida.

        6.      Upon information and belief, JOSEPH VALENTE is the lessee and/or operator of

the real property (the “Subject Facility”), and the owner of the improvements where the Subject

Facility is located which is the subject of this action, the establishment commonly referred to as

BOSTON GOURMET COFFEEHOUSE, located at 109 E New York Avenue, DeLand, FL.




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       7.      Upon information and belief, J. VALENTE HOLDINGS, LLC is the lessor,

operator and/or owner of the real property (the “Subject Facility”), and the owner of the

improvements where the Subject Facilities are located which are the subjects of this action.

       8.      All events giving rise to this lawsuit occurred in the State of Florida. Venue is

proper in this Court as the premises are located in Volusia County in the Middle District,

Orlando Division.

         COUNT I – VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT

       9.      On or about July 26, 1990, Congress enacted the Americans with Disabilities Act

(“ADA”), 42 U.S.C. §12101, et. seq. Commercial enterprises were provided one and a half years

from enactment of the statute to implement its requirements. The effective date of the Title III of

the ADA was January 26, 1992. 42 U.S.C. §12181; 20 C.F.R. §36.508(a).



       10.     Congress found, among other things, that:

               (i)     some 43,000,000 Americans have one or more physical or mental
                       disabilities, and this number shall increase as the population
                       continues to grow older;

               (ii)    historically, society has tended to isolate and segregate individuals
                       with disabilities, and, despite some improvements, such forms of
                       discrimination against disabled individuals continue to be a
                       pervasive social problem, requiring serious attention;

               (iii)   discrimination against disabled individuals persists in such critical
                       areas as employment, housing, public accommodations,
                       transportation, communication, recreation, institutionalization,
                       health services, voting and access to public services and public
                       facilities;

               (iv)    individuals with disabilities continually suffer forms of
                       discrimination, including outright intentional exclusion, the
                       discriminatory effects of architectural, transportation, and
                       communication barriers, failure to make modifications to existing
                       facilities and practices. Exclusionary qualification standards and

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                         criteria, segregation, and regulation to lesser services, programs,
                         benefits, or other opportunities; and,

                 (v)     the continuing existence of unfair and unnecessary discrimination
                         and prejudice denies people with disabilities the opportunity to
                         compete on an equal basis and to pursue those opportunities for
                         which our country is justifiably famous, and costs the United
                         States billions of dollars in unnecessary expenses resulting from
                         dependency and non-productivity.

          42 U.S.C. §12101(a)(1)-(3), (5) and (9).

          11.    Congress explicitly stated that the purpose of the ADA was to:

                 (i)     provide a clear and comprehensive national mandate for the
                         elimination of discrimination against individuals with disabilities;
                 (ii)    provide clear, strong, consistent, enforceable standards addressing
                         discrimination against individuals with disabilities; and,

                 (iii)   invoke the sweep of congressional authority, including the power
                         to enforce the fourteenth amendment and to regulate commerce, in
                         order to address the major areas of discrimination faced day-to-day
                         by people with disabilities.

          42 U.S.C. §12101(b)(1)(2), and (4).

          12.    Pursuant to 42 U.S.C. §12181(7) and 28 C.F.R. §36.104, Defendants are places of

public accommodation in that they are establishments which provide goods and services to the

public.

          13.    Pursuant to 42 U.S.C. §12181(7) and 28 C.F.R. §36.104, the building and/or

Subject Facility which is the subject of this action is a public accommodation covered by the

ADA and which must be in compliance therewith.

          14.    The Plaintiff is informed and believes, and therefore alleges, that the Subject

Facility has begun operations and/or undergone remodeling, repairs and/or alterations since

January 26, 1990.




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       15.     Defendants have discriminated, and continue to discriminate, against the Plaintiff,

and others who are similarly situated, by denying full and equal access to, and full and equal

enjoyment of, goods, services, facilities, privileges, advantages and/or accommodations at

Defendants’ Subject Facilities in derogation of 42 U.S.C. §12101, et. seq., and as prohibited by

42 U.S.C. §12182 et. seq., and by failing to remove architectural barriers pursuant to 42 U.S.C.

§12182(b)(2)(a)(iv), where such removal is readily achievable.

       16.     The Plaintiff has been unable to, and continues to be unable to, enjoy full and

equal safe access to, and the benefits of, all accommodations and services offered at Defendants’

Subject Facilities. Prior to the filing of this lawsuit, the Plaintiff visited the subject properties

and was denied full and safe access to all the benefits, accommodations and services of the

Defendants.    Prior to the filing of this lawsuit, MCNEIL, personally visited J. VALENTE

HOLDINGS, LLC, a Florida Limited Liability Company, and JOSEPH VALENTE, an

individual, d/b/a BOSTON GOURMET COFFEEHOUSE, with the intention of using

Defendants’ facilities, but was denied full and safe access to the facilities, and therefore suffered

an injury in fact. As stated herein, the Plaintiff has visited the Subject Facilities in the past, prior

to the filing of this lawsuit, resides near said Subject Facility, and Plaintiff intends to return to

the Subject Facility and Property within six months, or sooner, upon the Subject Facility being

made accessible. As such, Plaintiff is likely to be subjected to continuing discrimination at the

Subject Facility unless it is made readily accessible to and usable by individuals with disabilities

to the extent required under the ADA, including the removal of the architectural barrier which

remain at the Subject Facility.

       17.     Pursuant to the mandates of 42 U.S.C. §12134(a), on July 26, 1991, the

Department of Justice, Office of the Attorney General, promulgated Federal Regulations to



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implement the requirements of the ADA, known as the Americans with Disabilities Act

Accessibility Guidelines (hereinafter “ADAAG”), 28 C.F.R. Part 36, under which said

Department may obtain civil penalties of up to $110,000 for the first violation and $150,000 for

any subsequent violation.

       18.      The Defendants’ Subject Facilities are in violation of 42 U.S.C. §12182 et. seq.,

the ADA and 28 C.F.R. §36.302 et. seq., and is discriminating against the Plaintiff, as a result of

interalia, the following specific violations:

       VIOLATIONS

             a) Failure to provide ADA compliant exterior main entrance door front approach

                pull clearance, in violation of 2014 FAC and 2010 ADAS Section 404.2.4.1.

             b) Failure to provide ADA compliant service counter height, in violation of 2014

                FAC and 2010 ADAS Section 904.4.1.

             c) Failure to provide ADA compliant number of table seating, in violation of 2014

                FAC and 2010 ADAS Section 227.3.

             d) Failure to provide ADA compliant table clearances, in violation of 2014 FAC and

                2010 ADAS Section 306.1.

             e) Failure to provide ADA compliant directional signage to accessible restroom, in

                violation of 2014 FAC and 2010 ADAS Section 216.8.

             f) Failure to provide ADA compliant restroom locking/latching hardware, in

                violation of 2014 FAC and 2010 ADAS Section 309.4.

             g) Failure to provide ADA compliant mirror, in violation of 2014 FAC and 2010

                ADAS Section 603.3.




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              h) Failure to provide ADA compliant paper towel dispenser, in violation of 2014

                 FAC and 2010 ADAS Section 308.2.1.

              i) Failure to provide ADA compliant side grab bar, in violation of 2014 FAC and

                 2010 ADAS Section 609.4.

              j) Failure to provide ADA compliant rear grab bar, in violation of 2014 FAC and

                 2010 ADAS Section 609.4.

              k) Failure to provide ADA compliant toilet paper location, in violation of 2014 FAC

                 and 2010 ADAS Section 604.7.

              l) Failure to provide ADA compliant grab bar handle/toilet paper dispenser spacing,

                 in violation of 2014 FAC and 2010 ADAS Section 609.3.

              m) Failure to provide ADA compliant urinal rim height, in violation of 2014 FAC

                 and 2010 ADAS Section 605.2.

              n) Failure to provide ADA compliant urinal flushing mechanism height, in violation

                 of 2014 FAC and 2010 ADAS Section 605.4.

              o) Failure to provide ADA compliant unobstructed, restroom maneuverability

                 clearances, in violation of 2014 FAC and 2010 ADAS Section 304.3.1 and

                 304.3.2.

        19.      Upon information and belief, there are other current violations of the ADA at

Defendants’ Properties, and only once a full inspection is done can all said violations be

identified.

        20.      To date, the readily achievable barriers and other violations of the ADA still exist

and have not been remedied or altered in such a way as to effectuate compliance with the

provisions of the ADA. The barriers to access at the Subject Facilities, as described above, have



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severely diminished Plaintiff’s ability to avail himself of the goods and services offered at the

Subject Facilities, and compromise his safety.

       21.     Pursuant to the ADA, 42 U.S.C. §12101 et. seq., and 28 C.F.R. §36.304, the

Defendants were required to make the Subject Facility, a place of public accommodation,

accessible to persons with disabilities since January 28, 1992. To date, the Defendants have

failed to comply with this mandate.

       22.     The Plaintiff has been obligated to retain the undersigned counsel for the filing

and prosecution of this action. The Plaintiff is entitled to have his reasonable attorney’s fees,

costs and expenses paid by the Defendants, pursuant to 42 U.S.C. §12205.

       23.     Pursuant to 42 U.S.C. §12188, this Court is vested with the authority to grant the

Plaintiff’s injunctive relief; including an order to alter the subject facilities to make them readily

accessible to, and useable by, individuals with disabilities to the extent required by the ADA and

closing the subject facility until the requisite modifications are completed.

       WHEREFORE, the Plaintiff hereby demands judgment against the Defendants and the

Court declare that the subject property and Subject Facilities owned, operated, leased, controlled

and/or administered by the Defendants are violative of the ADA;

       A.      The Court enter an Order requiring the Defendants to alter their facilities and

               amenities to make them accessible to and usable by individuals with disabilities to

               the full extent required by Title III of the ADA;

       B.      The Court enter an Order directing the Defendants to evaluate and neutralize their

               policies, practices and procedures toward persons with disabilities, for such

               reasonable time so as to allow the Defendants to undertake and complete

               corrective procedures to the Subject Facility;



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    C.     The Court award reasonable attorney’s fees, all costs (including, but not limited to

           court costs and expert fees) and other expenses of suit, to the Plaintiff; and

    D.     The Court award such other and further relief as it deems necessary, just and

           proper.



    Dated: This 17th day of February 2020.

                                                  Respectfully submitted,

                                                  By: /S/Joe M. Quick, Esq._________
                                                  Joe M. Quick, Esq.
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